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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



MERCEDES BENZ, USA, LLC.,

       Plaintiff,
v.                                                                      HON. AVERN COHN

JAMES LEWIS,                                                              Case No. 19-10948
JEFF SOTO and MAXX GRAMAJO,
DANIEL BOMBARDIER,

     Defendants.
_________________________________/

                     ORDER FOLLOWING STATUS CONFERENCE

                                               I.

       Plaintiff Mercedes Benz USA, LLC (Mercedes) filed three (3) declaratory

judgment actions in this district against defendants, seeking a declaration that its use of

defendant’s murals was lawful. The cases have been consolidated and liability and

damages have been bifurcated. See ECF No. 25.

       On November 26, 2019, the Court held a telephone conference with the parties

to chart the course of the case. This Order memorializes the matters discussed at the

telephone conference.

                                              II.

       -       The parties shall have four (4) months to complete discovery on liability.

               (The Clerk will send out a separate scheduling order).

       -       No motions shall be filed without a call to the Court first.
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      -      The parties shall advise the Court as to the name of their chosen

             mediator.

      SO ORDERED.




                                               ________________________________
                                                S/AVERN COHN
                                               UNITED STATES DISTRICT JUDGE

Dated: 11/26/2019
      Detroit, Michigan




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